                      Case 21-14486-abl             Doc 152         Entered 12/08/21 10:00:15                Page 1 of 11
1

2

3
                                       UNITED STATES BANKRUPTCY COURT
4                                             DISTRICT OF NEVADA
5
        IN RE:                                                           CASE NO: 21-14486-abl
6
        INFINITY CAPITAL MANAGEMENT, INC. dba                            CERTIFICATE OF SERVICE
        INFINITY HEALTH CONNECTIONS                                      DECLARATION OF MAILING
7
                                                                         Chapter: 7
8                                                                        ECF Docket Reference No. 145


9

10

11   On 12/8/2021, a copy of the following documents, described below,

     Motion to Sell [DE #145] ECF Docket Reference No. 145
12
     Notice of Hearing [DE #151] 151
13

14

15

16

17

18

19   were deposited for delivery by the United States Postal Service, via First Class United States Mail, postage prepaid, with sufficient
     postage thereon to the parties listed on the mailing list exhibit, a copy of which is attached hereto and incorporated as if fully set forth
20   herein.

     The undersigned does hereby declare under penalty of perjury of the laws of the United States that I have served the above
21   referenced document(s) on the mailing list attached hereto in the manner shown and prepared the Declaration of Certificate of
     Service and that it is true and correct to the best of my knowledge, information, and belief.
22
     DATED: 12/8/2021
23

24

25
                                                                  Jay S. Jump
26                                                                BK Attorney Services, LLC
                                                                  d/b/a certificateofservice.com, for
27                                                                /s/ Clarisse Crisostomo
                                                                  Atkinson Law Associates Ltd.
28                                                                376 E. Warm Springs Rd Suite 130
                                                                  Las Vegas, NV 89119
PARTIES DESIGNATED Case  21-14486-abl
                   AS "EXCLUDE"           Doc 152
                                WERE NOT SERVED       Entered
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                                                         FIRST CLASS MAIL 10:00:15     Page 2 of 11
PARTIES WITH A '+' AND DESIGNATED AS "CM/ECF E-SERVICE" RECEIVED ELECTRONIC NOTICE THROUGH THE CM/ECF SYSTEM

                                         DEBTOR
LABEL MATRIX FOR LOCAL NOTICING          INFINITY CAPITAL MANAGEMENT INC          THE INJURY SPECIALISTS
09782                                    1700 W HORIZON RIDGE PKWY 206            CO SAGEBRUSH LAWYERS LLC
CASE 21-14486-ABL                        HENDERSON NV 89012-4840                  112 S WATER ST STE 104
DISTRICT OF NEVADA                                                                HENDERSON NV 89015-2312
LAS VEGAS
WED DEC 8 09-49-47 PST 2021


EXCLUDE
UNITED STATES BANKRUPTCY COURT           ARIEL E STERN ESQ                        ALCOVY NEUROLOGY PC
300 LAS VEGAS BLVD SOUTH                 NEVADA BAR NO 8276                       ATTN JUAN C LACAYO MD
LAS VEGAS NV 89101-5833                  1635 VILLAGE CENTER CIRCLE SUITE 200     3535 HIGHWAY 81
                                         LAS VEGAS NEVADA 89134-6375              LOGANVILLE GA 30052-4336




ALLIANCE HEALTHCARE SERVICES             ALLIANCE SPINAL THERAPY                  AMPRO ORTHOTICS PROTHETICS INC
ATTN MANAGING MEMBER                     REHABILITATION GROUP                     ATTN LUIS E CHOTO
1019 EAST 22ND AVE                       ATTN- MANAGING MEMBER                    6877 S EASTERN AVE
CORDELE GA 31015-1913                    7455 WEST WASHINGTON AVE SUITE 140       LAS VEGAS NV 89119-4626
                                         LAS VEGAS NV 89128-4349




AMERICAN HEALTH IMAGING                  AMERISOURCEBERGEN SPECIALTY GROUP        ANESTHESIOLOGY CONSULTANTS INC
ATTN DAN BALENTINE                       ATTN STEFANI D FORSYTHE                  ATTN BRADFORD ISAACS MD
6590 POWERS FERRY ROAD                   3101 GAYLORD PARKWAY                     7220 SOUTH CIMARRON RD SUITE 230
ATLANTA GA 30339-2933                    FRISCO TX 75034-8655                     LAS VEGAS NV 89113-2173




ANTHONY M ODELL DC                       ARTIANO SHINOFF                          ASSOCIATED ORAL SPECIALTIES INC
ATTN ANTHONY M ODELL DC                  ATTN BANKRUPTCY DEPTMANAGING AGENT       ATTN DR FREDDIE J WAKEFIELD JR
3227 PERKIOMEN AVE                       3636 4TH AVENUE                          5671 PEACHTREE DUNWOODY RD SUITE 420
READING PA 19606-2740                    SAN DIEGO CA 92103-4280                  ATLANTA GA 30342-5004




ASSOCIATED PATHOLOGISTS LABORATORIES     ATHENS ORTHOPEDICS CLINIC                ATLANTA SPINE INSTITUTE
ATTN RICK REBER                          ATTN KAYO ELLIOT                         ATTN DR PLAS T JAMES
2075 E FLAMINGO RD                       1765 OLD WEST BROAD ST BLDG 2   2        5667 PEACHTREE DUNWOODY RD   220
LAS VEGAS NV 89119-5188                  ATHENS GA 30606-2887                     ATLANTA GA 30342-1725




ATLAS ORTHOPAEDICS                       BART K LARSEN ESQ                        BETHEA CONSULTING PSYCHOLOGICAL
ATTN DR DUNCAN WELLS                     SHEA LARSEN                              SERVICES PC
970 WOODSTOCK PKWY STE 310               1731 VILLAGE CENTER CIRCLE SUITE 150     ATTN- ANGELA R BETHEA PHD
WOODSTOCK GA 30188-4869                  LAS VEGAS NEVADA 89134-0517              5 CONCOURSE PARKWAY NE SUITE 3000
                                                                                  ATLANTA GA 30328-7106




BORG LAW GROUP                           CLARK COUNTY ASSESSOR                    CLARK COUNTY TREASURER
ATTN BROOKE M BORG ESQ                   CO BANKRUPTCY CLERK                      CO BANKRUPTCY CLERK
9555 HILLWOOD DR SUITE 150               500 S GRAND CENTRAL PKWY                 500 S GRAND CENTRAL PKWY
LAS VEGAS NV 89134-0579                  BOX 551401                               PO BOX 551220
                                         LAS VEGAS NV 89155-4502                  LAS VEGAS NV 89155-1220



INTERNATIONAL
CLAUS NISSEN                             COX INTERNET                             CARBAJAL MCNUTT LLP
HUGODISTLER STRASSE 64                   ATTN MANAGING MEMBER                     ATTN DAN MCNUTT
D-90411 NUERNBERG GERMANY                1700 VEGAS DRIVE                         625 S EIGHT STREET
                                         LAS VEGAS NV 89106-2111                  LAS VEGAS NV 89101-7004
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CARE4LIFE HOME HEALTH AGENCY             CARL N WILLIAMS MD                       CARROLLTON   ORTHOPEDIC CLINIC
ATTN MARY LEVY                           ATTN CARL N WILLIAMS MD                  ATTN J BEN   BUTLER
8665 W FLAMINGO RD                       2020 WELLNESS WAY 501                    150 CLINIC   AVE STE 101
LAS VEGAS NV 89147-8624                  LAS VEGAS NV 89106-4145                  CARROLLTON   GA 30117-4402




CENTER FOR SPINE PAIN MEDICINE           CENTER OF SPECIAL PROCEDURES AT          CHEROKEE IMAGING CENTER
ATTN SULEMAN SOHANI                      SUMMERLIN                                ATTN JONNA ROOPAS
1413 CHATTANOOGA AVE                     ATTN WILLIAM S MUIR MD                   2000 VILLAGE PROFESSIONAL DR
DALTON GA 30720-2631                     653 N TOWN CENTER DR                     CANTON GA 30114-8499
                                         LAS VEGAS NV 89144-0514




CHILDRENS ORTHOPAEDICS OF ATLANTA        CHIMEDICAL MANAGEMENT GROUP              CLEAR LAKE IMAGING LLC
ATTN MARK KLEIN                          ATTN DR STEPHEN COOPER                   ATTN MANAGING MEMBER
1200 LAKE HEARN DRIVE SUITE 400          PO BOX 1611                              202 N TEXAS AVE
ATLANTA GA 30319-1459                    PHENIX CITY AL 36868-1611                WEBSTER TX 77598-4967




COLDCO THERAPIES LLC                     COLLECTIONS CONSULTANTS NEVADA           COMPREHENSIVE SPINE PAIN
ATTN ADAMLURIE                           ATTN BONNIE BARNETT                      ATTN DR VK PUPPALA
1362 RIETVELD ROW                        5440 W SAHARA AVE SUITE 300              403 PERMIAN WAY SUITE D
NW ATLANTA GA 30318-4109                 LAS VEGAS NV 89146-0361                  VILLA RICA GA 30180-3226




CONCORDIA ANESTHESIALOGY INC             COOSA DIAGNOSTIC CENTER                  CORNERSTONE ORTHOPEDICS
ATTN STEPHAN GOSCH                       ATTN EDDIE RIVERS                        SPORTS MEDICINE
120 OTTLY DR NE SUITE C                  16 RIVERBEND DR SW                       ATTN- RHETT K RAINEY
ATLANTA GA 30324-3978                    ROME GA 30161-6066                       299 N BROAD ST
                                                                                  WINDER GA 30680-2155




CORONADO SURGERY CENTER                  CRANIOSPINAL INSTITUTE OF GEORGIA        CREATIVE FUNDING SERVICES INC
ATTN DR MIKE CROVETTI                    ATTN DR DANIEL W MOORE                   ATTN BRETT HANSBERY
2779 W HORIZON RIDGE PKWY STE 140        790 CHURCH ST NE                         1135 BAY STREET SUITE 10
HENDERSON NV 89052-4186                  MARIETTA GA 30060-8957                   SAN FRANCISCO CA 94123-2315




DANIEL P NICHOLAS                        DEPT OF EMPL TRAINING REHAB              DYNAMIC LEGAL RECOVERY
3842 N SOUTHPORT AVE APT M               EMPLOYMENT SECURITY DIVISION             ATTN MANAGING MEMBER
CHICAGO IL 60613-6226                    500 EAST THIRD STREET                    25600 RYE CANYON ROAD 209
                                         CARSON CITY NV 89713-0002                VALENCIA CA 91355-1172




DAMIEN A DOUTE MD                        DANIEL EISENMAN MD                       DAVID S OWENS MD
ATTN DAMIEN A DOUTE MD                   ATTN DANIEL EISENMAN MD                  4545 HARRIS TRAIL
1462 MONTREAL RD                         3050 ROYAL BLVD SUITE 100                ATLANTA GA 30327-3813
TUCKER GA 30084-6929                     ALPHARETTA GA 30022-4484




DOUGLAS W KINDALL MD                     DR ABBAS HAIDER DDS                      DR ASAF YALIF
ATTN DOUGLAS W KINDALL MD                ATTN DR ABBAS HAIDER DDS                 ATTN DR ASAF YALIF
3939 J ST                                3521 MEMORIAL DR STE A                   145 TOWNE LAKE PKWY STE 101
SACRAMENTO CA 95819-3636                 DECATUR GA 30032-2731                    WOODSTOCK GA 30188-4849
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DR BOBBY KHAN                            DR GARY GANAHL                           DR HETESH RANCHOD
ATTN DR BOBBY KHAN                       ATTN DR GARY GANAHL                      ATTN DR HETESH RANCHOD
5673 PEACHTREE DUNWOODY RD STE 440       1770 CENTURY BLVD NE                     2769 CHASTAIN MEADOWS PARKWAY SUITE 70
ATLANTA GA 30342-1797                    ATLANTA GA 30345-3395                    MARIETTA GA 30066-3368




DR JASON REINGOLD                        DR TAPAN DAFTARI                         DURANGO OUTPATIENT SURGERY CENTER
ATTN DR JASON REINGOLD                   ATTN DR TAPAN DAFTARI                    ATTN MATT PATE
5669 PEACHTREE DUNWOODY RD               270 CHASTAIN RD                          8530 W SUNSET RD
ATLANTA GA 30342-1786                    KENNESAW GA 30144-3012                   LAS VEGAS NV 89113-2244




ELITE FIRST ASSISTING                    ELITE RADIOLOGY OF GEORGIA LLC           ELIZABETH CAUGHEY DDS
ATTN TYRONE W ROGERS                     ATTN KEVIN JOHNSON                       ATTN ELIZABETH CAUGHEY DDS
1235MAGNOLIA PARK CIRCLE                 4800 ASHFORD DUNWOODY RD STE 140         25-A LENOX POINTE NE
CUMMING GA 30040-8338                    ATLANTA GA 30338-5554                    ATLANTA GA 30324-7420




ERIK T BENDIKS MD                        EVANS PROCEDURE CENTER                   EXPRESSCHEX LLC
ATTN KELLY MILLARD                       ATTN HEMANT YAGNICK MD                   ATTN NICHOLAS ATHANASATOS
11650 ALPHARETTA HWY STE 100             404 TOWN PARK BLVD SUITE 101             2035 SUNSET LAKE RD SUITE B-2
ROSWELL GA 30076-3805                    EVANS GA 30809-3491                      NEWARK DE 19702-2600




FIRST SAVINGS BANK                       FIRST COAST HEALTH SOLUTIONS             FIRSTSCANTM OMAHA
ATTN MANAGING MEMBER                     ATTN ARON STEFANIDES                     ATTN DANIEL CINOTTO
5960 S JONES BLVD                        211 N LIBERTY ST                         9840 S 140TH ST STE 5
LAS VEGAS NV 89118-2610                  JACKSONVILLE FL 32202-2800               OMAHA NE 68138-3692




                                                                                  INTERNATIONAL
FLAMINGO SURGERY CENTER                  GPMICRO INC                              GREGORY M CASH
ATTN NICK PACIELLO                       CO BORG LAW GROUP LLC REG AGENT          TYRINGA ROAD
2565 E FLAMINGO RD                       8988 W CHEYENNE AVE SUITE 150            PORT KENNEY SA 5671 AUSTRALIA
LAS VEGAS NV 89121-5203                  LAS VEGAS NV 89129-8928




GRIFFIN ASSET MANAGEMENT LLC             GEORGIA HEALTH IMAGING                   GEORGIA NEUROLOGICAL SURGERY
ATTN MICHAEL E GRIFFIN                   ATTN MARIA BUDHWANI                      COMPREHENSIVE SPINE
230 PARK AVE                             4025 LAWRENCEVILLE HWY NW                ATTN- BRANDT HALBACH
10TH FLOOR SUITE 61                      LILBURN GEORGIA 30047-3013               2142 W BROAD ST BLDG 100 SUITE 200
NEW YORK NY 10169-0005                                                            ATHENS GA 30606-3509




GEORGIA NEUROSCIENCE                     GEORGIA PAIN SPINE CARE                  GEORGIA PAIN WELLNESS CENTER
ATTN ALEX BANNISTER                      ATTN JAY RICE                            ATTN AMIT PATEL
335 ROSELANE ST NW 202                   1665 GEORGIA HWY 34 EAST 100             455 PHILLIP BLVD BUILDING 100 SUITE 140
MARIETTA GA 30060-7902                   NEWNAN GA 30265                          LAWRENCEVILLE GA 30046-8767




GEORGIA PAIN SAMSON                      GEORGIA PAIN AND SPINE SOLUTIONS         GEORGIA SPINE ORTHOPEDICS
120 STONEBRIDGE PKWY STE 420             ATTN MARCUS POLK                         ATTN WINSTON JESHURAN
WOODSTOCK GA 30189-3769                  76 HIGHLAND PAVILION CT 133              6501 PEAKE RD SUITE 400
                                         HIRAM GA 30141-3170                      MACON GA 31210-8046
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GLENDALE MRI INSTITUTE                   GRIFFIN IMAGING LLC                       GWINNETT HOSPITAL SYSTEM INC
ATTN JAMES LILLEY                        ATTN PAUL COTE                            ATTN CATHY HDAUGHERTY
624 S CENTRAL AVE 2009                   220 ROCK ST                               1000 MEDICAL CENTER BLVD
GLENDALE CA 91204-2009                   GRIFFIN GA 30224-4235                     LAWRENCEVILLE GA 30046-7694




HASELECT FTM MEDICAL RECEIVABLES         HASELECT FTM MEDICAL RECEIVABLES          HASELECT FTM MEDICAL RECEIVABLES
LITIGATION FINANCE FUND SP               LITIGATION FINANCE FUND SP                LITIGATION FINANCE FUND SP
CO HEDGEACT INTL SPC LTD                 CO THOMAS C CRONIN                        CO JOHN N HOURIHANE JR
403 SOUTH LA GRANGE RD                   120 N LASALLE ST 20TH FLOOR               120 N LASALLE ST 20TH FLOOR
LA GRANGE IL 60525-2449                  CHICAGO IL 60602-2452                     CHICAGO IL 60602-2452




HEALTHPLUS IMAGING OF TEXAS LLC          HEALING HANDS PHYSICAL THERAPY CENTERS    HEALTH N HOME
ATTN MANAGING MEMBER                     ATTN PATRICIA BURNLEY                     ATTN PAUL G ROWAN
9000 SOUTHWEST FREEWAY SUITE 250         1930 A HIGHLAND AVE                       PO BOX 20 ATTN CORP TAX 70428
HOUSTON TX 77074-1520                    AUGUSTA GA 30904-7803                     BOISE ID 83726-0020




HEALTHPLUS IMAGING                       HEALTHSOUTH REHABILITATION HOSPITAL       HENDERSON RADIOLOGY INC
ATTN STEPHANIE LAM                       OF LAS VEGAS                              ATTN JADE ALFASI
9000 SOUTHWEST FWY                       ATTN- MARK TARR                           10561 JEFFREYS ST STE 111
HOUSTON TX 77074-1526                    1250 SOUTH VALLEY VIEW BLVD               LAS VEGAS NV 89052-4267
                                         LAS VEGAS NV 89102-1855




HIEU BALL MD                             HILLTOP RADIOLOGY LLC                     HOWARD GOLDEN
ATTN HIEU BALL MD                        ATTN JOEL CHOE                            ATTN HOWARD GOLDEN
100 PARK PL                              2970 HILLTOP MALL RD                      1140 HAMMOND DR
SAN RAMON CA 94583-4460                  RICHMOND CA 94806-1947                    ATLANTA GA 30328-5338




INFINITY CENTERS UNITED                  INFINITY DIAGNOSTICS LLC DBA PRESTIGE M   INTERNAL REVENUE SERVICE
ATTN MANAGING MEMBER                     ATTN MANAGING MEMBER                      ATTN BANKRUPTCY DEPTMANAGING AGENT
3310 EDLOE STREET                        3310 EDLOE STREET                         PO BOX 7346
HOUSTON TX 77027-6502                    HOUSTON TX 77027-6502                     PHILADELPHIA PA 19101-7346




                                                                                   INTERNATIONAL
IMAGELINK LLC                            IMTISAL KHURI                             JENNIFER DE BONO
ATTN KURT TAYLOR                         1148 BROKEN HILLS DR                      89 SOUTHFORK DRIVE
1350 SCENIC HWY N SUITE 268              HENDERSON NV 89011-3073                   GLENNING VALLEY NSW 2261 AUSTRALIA
SNELLVILLE GA 30078-7907




JOHN KAREN LAUB                          JUDY L TRENT                              JAMES SCHELLER MD
9501 ROYAL WINDSOR AVENUE                9724 CAMDEN HILLS AVE                     ATTN JAMES SCHELLER MD
LAS VEGAS NV 89149-0167                  LAS VEGAS NV 89145-8611                   2288 AUBURN BLVD STE 201
                                                                                   SACRAMENTO CA 95821-1620




JEFFREY GOLDBERG MD                      JOINT ACTIVE SYSTEMS INC                  JORDANICA INC
ATTN JEFFREY GOLDBERG MD                 ATTN BORIS BONUTTI                        ATTN MARK A PREMSELAAR
210 E DERENNE AVE                        2600 S RANEY ST                           780 CORONODO CNETER DR SUITE 110A
SAVANNAH GA 31405-6736                   EFFINGHAM IL 62401-4219                   HENDERSON NV 89052-5056
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                                                                                  INTERNATIONAL
KABBAGE                                  KATIA CABAYAN                            LUKE DE BONO
ATTN MANAGING MEMBER                     ATTN KATIA CABAYAN                       89 SOUTHFORK DRIVE
730 PEACHTREE STREET NE SUITE 1100       2970 HILLTOP MALL RD                     GLENNING VALLEY NSW 2261 AUSTRALIA
ATLANTA GA 30308-1263                    RICHMOND CA 94806-1947




LAS VEGAS PHARMACY INC                   LAS VEGAS SLEEP CENTER PLLC              LEDESMA SPORTS MEDICINE
ATTN DOUGLAS L COPSEY                    ATTN MOHAMED SHIMAYA                     ATTN ERNEST LEDESMA
2600 W SAHARA AVE STE 120                2400 S CIMARRON RD                       7010 HODGSON MEMORIAL DR
LAS VEGAS NV 89102-4366                  LAS VEGAS NV 89117-7902                  SAVANNAH GA 31406-2529




                                                                                  INTERNATIONAL
LEGACY BRAIN SPINE                       MATT VALENTI                             MAX ORAM
ATTN DR SAID ELSHIHABI MD                1651 S VICTORIA AVE                      1840 ULAN ROAD
718 CHEROKEE ST NE                       LOS ANGELES CA 90019-5929                MUDGEE NSM 2850 AUSTRALIA
MARIETTA GA 30060-7253




MD PAIN CARE                             MMR HOLDINGS INC                         MACON PAIN CENTER PC
ATTN ROY L TALLEY MD                     ATTN JOHN PLATUSIC                       ATTN CARLOS J GIRON
5109 HIGHWAY 278 NE STE C                630 SOUTH RANCHO DR SUITE G              3356 VINEVILLE AVE
COVINGTON GA 30014-2608                  LAS VEGAS NV 89106-4849                  MACON GA 31204-2328




MARIPOSA MEDICAL ASSOCIATES              MARK W HOWARD MD                         MEDICA STAND UP MRI OF ATLANTA
ATTN FAYE VARGAS MORRIS MD               ATTN MARK W HOWARD MD                    ATTN THOMAS R CORMIER
767 CONCORD RD SE                        576 HARTNELL ST                          6590 POWERS FERRY RD
SMYRNA GA 30082-2625                     MONTEREY CA 93940-2834                   ATLANTA GA 30339-2933




MICHAEL S CHAMPNEY MD FACS               MONITORING AND NEUROMONITORING           NEVADA DEPT OF TAXATION
ATTN MICHAEL S CHAMPNEY MD               ASSOCIATES PAYMENT LETTER                BANKRUPTCY SECTION
2665 N DECATUR RD                        ATTN- TERESA L CARTER                    555 E WASHINGTON AVENUE 1300
DECATUR GA 30033-6149                    9811 WEST CHARLESTON SUITE 2-641         LAS VEGAS NV 89101-1046
                                         LAS VEGAS NV 89117-7528




NV ENERGY                                NEUROLOGICAL ASSOCIATES OF NEVADA        NICK DEFILLIPS MD
ATTN MANAGING MEMBER                     ATTN MANAGING MEMBER                     ATTN NICK DEFILLIPS MD
PO BOX 98910                             2831 BUSINESS PARK CT STE B              990 HAMMOND DR 730
LAS VEGAS NV 89151-0001                  LAS VEGAS NV 89128-9007                  ATLANTA GA 30328-5510




NON SURGICAL ORTHOPAEDICS PC             NORTH ATLANTA SURGICAL ASSOCIATES        NORTH DEKALB ORTHOPEDICS PC
ATTN ARNOLD J WELL MD                    ATTN MANAGING MEMBER                     ATTN SYLVIA BRUMELOW
335 ROSELANE ST NW                       5673 PEACHTREE DUNWOODY RD STE 3         505 IRVIN CT STE 200
MARIETTA GA 30060-7902                   ATLANTA GA 30342-1731                    DECATUR GA 30030-1780




NORTH FULTON ANESTHESIA INC              NORTH FULTON MEDICAL CENTER INC          NORTH HOUSTON INJURYREHABILITATION
ATTN JAMES G VELIMESIS                   ATTN DEBORAH C KEEL                      ATTN MANAGING MEMBER
3000 HOSPITAL BLVD                       3000 HOSPITAL BLVD                       523 N SAM HOUSTON PKWY E
ROSWELL GA 30076-4915                    ROSWELL GA 30076-3899                    HOUSTON TX 77060-4048
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NORTHERN CALIFORNIA ORTHOPEDIC CENTERS   NORTHWEST NEUROLOGY                      OPEN MRI OF   SAVANNAH
ATTN PAUL SUSAURA MD                     ATTN ROBERT BASHUK MD                    ATTN TONI S   COWAN
6403 COYLE AVE STE 170                   4460 AUSTELL RD                          4815 WATERS   AVE
CARMICHAEL CA 95608-0363                 AUSTELL GA 30106-1844                    SAVANNAH GA   31404-6221




OPEN MRI OF MACON                        ORTHO NOW PLLC                           ORTHOPAEDIC SOLUTIONS
ATTN LISA WALDROP                        ATTN BRET SOKOLOFF MD                    ATTN DR ANTENOR VELAZCO MD
1504 HARDEMAN AVE STE B                  4901 RALEIGH COMMON DR SUITE 200         670 S 8TH STREET
MACON GA 31201-1464                      MEMPHIS TN 38128-2478                    GRIFFIN GA 30224-4214




ORTHOPEDIC FOOT AND ANKLE INSTITUTE      OUTPATIENT IMAGING                       PAIN CARE CENTER OF GEORGIA
ATTN ROMAN SIBEL MD                      ATTN JOHN F HOWARD MD                    ATTN CRYSTAL MARCUM
3175 SAINT ROSE PKWY STE 320             3280 HOWELL MILL RD NW STE 345           1365 ROCK QUARRY RD STE 202
HENDERSON NV 89052-3508                  ATLANTA GA 30327-4113                    STOCKBRIDGE GA 30281-5023




PAIN CONSULTANTS OF ATLANTA              PAIN INSTITUTE OF GEORGIA                PAIN MANAGEMENT SPECIALISTS OF ATLANTA
ATTN ASHLEY BERNAL                       ATTN CARLOS J GIRON                      PC
1800 PEACHTREE ST NW STE 750             3356 VINEVILLE AVE                       ATTN RANDALL BERINHOUT
ATLANTA GA 30309-2530                    MACON GA 31204-2328                      440 PRIME POINT
                                                                                  PEACHTREE GA 30269-3309




PARKAIRE CONSULTANTS                     PEACHTREE NEUROSURGERY                   PEACHTREE ORTHOPAEDIC CENTER PA
ATTN RANDALL SHEFFIELD                   ATTN JOY TAYLOR                          ATTN MANAGING MEMBER
4939 LOWER ROSWELL RD STE 201C           1938 PEACHTREE RD NW                     2001 PEACHTREE RD NE SUITE 700
MARIETTA GA 30068-4384                   ATLANTA GA 30309-1267                    ATLANTA GA 30309-1476




PERIMETER ORTHOPAEDICS PC                PERIMETER OUTPATIENT SURGICAL            PERIMETER SURGICAL CENTER
ATTN KATHERYN KELLER                     ASSOCIATES                               ATTN CINDY SMITH
5673 PEACHTREE DUNWOODY RD STE 825       ATTN KATHERYN KELLER                     6105 PEACHTREE DUNWOODY RD STE 110
ATLANTA GA 30342-1771                    5667 PEACHTREE DUNWOODY RD               ATLANTA GA 30328-5909
                                         ATLANTA GA 30342-1714




PHENIX CITY SPINE AND TOPPLE             PHILIP C COLOSIMO PHD                    PINNACLE ORTHOPAEDICS SPORTS MEDICINE
DIAGNOSTICS                              ATTN PHILIP C COLOSIMO PHD               SPEACIALISTS LLC
ATTN BRENT JONES                         501 S RANCHO DR SUITE C-14               ATTN- DONNA L FISHER
10800 ALPHARETTA HWY 208-541             LAS VEGAS NV 89106-4831                  720 TRANSIT AVE STE 202
ROSWELL GA 30076-1490                                                             CANTON GA 30114-2544




PINNACLE ORTHOPAEDICS SURGERY CENTER     PLASTIKOS PLASTIC AND RECINSTRUCTIVE     POLARIS CENTER FOR OUTPATIENT SPINE
WOODSTOCK LLC                            SURGERY MILLENNIUM HEALTHCARE            SURGERY
ATTN- DONNA L FISHER                     ATTN- SUSAN KOLB MD                      ATTN JOY TAYLOR
1505 STONE BRIDGE PKWY STE 200           4370 GEORGETOWN SQ                       1150 HAMMOND DRIVE SUITE 400
WOODSTOCK GA 30189-8282                  ATLANTA GA 30338-6205                    ATLANTA GA 30328-8617




POLARIS SPINE NEUROSURGERY CENTER PC     PREVA ADVANCED SURGICARE                 PRO PERFORMANCE PT
ATTN JOY TAYLOR                          THE WOODLANDS LLC                        ATTN AMANDA STILLINGS
1150 HAMMOND DRIVE SUITE 400             ATTN- HUGH P SHANNONHOUSE                4343 SHALLOWFORD RD STE 630
ATLANTA GA 30328-8617                    26710 I-45 N STE B-100                   MARIETTA GA 30062-5080
                                         THE WOODLANDS TX 77386
PARTIES DESIGNATED Case  21-14486-abl
                   AS "EXCLUDE"           Doc 152
                                WERE NOT SERVED       Entered
                                                VIA USPS        12/08/21
                                                         FIRST CLASS MAIL 10:00:15     Page 8 of 11
PARTIES WITH A '+' AND DESIGNATED AS "CM/ECF E-SERVICE" RECEIVED ELECTRONIC NOTICE THROUGH THE CM/ECF SYSTEM


PROCESS SERVERS INC                      PSYCHOLOGICAL DIAGNOSTIC CENTER LLC      PULSE IMAGING
ATTN MARTIN DRUCKMAN                     ATTN WILLA L BOSTON PH D                 ATTN MANAGING MEMBER
1736 EAST CHARLESTON UNIT 333            1820 POWERS FERRY RD SE BUILDING 22      202 N TEXAS AVE STE 500
LAS VEGAS NV 89104-7900                  SUITE 200                                WEBSTER TX 77598-4968
                                         ATLANTA GA 30339



                                         INTERNATIONAL
RENT MDL GROUP                           ROBIN W SMITH                            REGENERATIVE ORTHOPAEDICS AND SPINE
ATTN MANAGING MEMBER                     12 ESTUARY COURT                         INSTITUTE PC
5960 SOUTH JONES BOULEVARD               TWIN WATERS QLD 4564 AUSTRALIA           ATTN- PHILLIP G PLOSKA MD
LAS VEGAS NV 89118-2610                                                           203 MEDICAL BLVD
                                                                                  STOCKBRIDGE GA 30281-7218




REHABILITATION THAT WORKS                RESTORATION COUNSELING SERVICES LLC      ROBERT AND PATTY SANDLER
ATTN BOB BEDFORD                         ATTN FAITH ABRAHAM                       3655 DECATUR BLVD SUITE 14173
801 S RANCHO DR STE F4                   1010 HUNTCLIFF                           LAS VEGAS NV 89103-6860
LAS VEGAS NV 89106-3814                  SANDY SPRINGS GA 30350-7532




ROCK BRIDGE INSTITUTE                    ROY M RUBIN MD                           SOCIAL SECURITY ADMINISTRATION
ATTN MANAGING MEMBER                     ATTN ROY M RUBIN MD                      ATTN BANKRUPTCY DESKMANAGING AGENT
2500 HOSPITAL BLVD                       3455 AMERICAN RIVER DRIVE STEB           PO BOX 33021
ROSWELL GA 30076-4907                    SACRAMENTO CA 95864-5751                 BALTIMORE MD 21290-3021




STATE FARM FIRE CASUALTY CO              SACRAMENTO PAIN CLINIC                   SAFEWAY DRIVER FITNESS CENTERS INC
ATTN BANKRUPTCY DEPTMANAGING AGENT       ATTN DR MICHAEL LEVIN MD                 ATTN JEFF BORCHARDT
3 RAVINIA DRIVE                          333 UNIVERSITY AVE STE 140               16230 W MAYFLOWER DR
ATLANTA GA 30346-2118                    SACRAMENTO CA 95825-6535                 NEW BERLIN WISCONSIN 53151-6596




SAFEWAY PSYCHOLOGICAL SERVICES           SAINT FRANCIS MEMORIAL HOSPITAL          SAN RAMON SURGERY CENTER
ATTN JEFF BORCHARDT                      ATTN ALAN E FOX                          ATTN MEDINA HENRY
16230 W MAYFLOWER DR                     900 HYDE ST                              100 PARK PL STE 110
NEW BERLIN WISCONSIN 53151-6596          SAN FRANCISCO CA 94109-4806              SAN RAMON CA 94583-4460




SANTA BARBARA COTTAGE HOSPITAL           SCOTT BARBOUR MD                         SEVEN HILLS SURGERY CENTER
ATTN GREGORY FRIEDRICH                   ATTN SCOTT BARBOUR MD                    ATTN JEANNE ELAM
400 W PUEBLO ST                          3240 NE EXPY NE STE 200                  876 SEVEN HILLS DR
SANTA BARBARA CA 93105-4390              ATLANTA GA 30341-4003                    HENDERSON NV 89052-4369




SOUTH ATLANTA MUA CENTER LLC             SOUTH PLACER SURGERY CENTER              SOUTHEAST OPEN MRI
ATTN STEPHEN B COOPER                    ATTN BRIAN HUNT                          ATTN TONI S COWAN
541 FOREST PARKWAY SUITE 14              8723 SIERRA COLLEGE BLVD                 1103 FOUNTAIN LAKE DR
FOREST PARK GA 30297-6110                ROSEVILLE CA 95661-5990                  BRUNSWICK GA 31525-3039




SOUTHERN CROSS SURGERY CENTER            SPECIALTY ORTHOPAEDICS                   SPECIALTY SURGERY CENTER OF PECOS
ATTN RL TALLEY JR MD                     ATTN KEVIN JARRARD                       ATTN CRAIG N FOREMAN
1301 SIGMAN RD NE                        1240 JESSE JEWELL PKWY SE    300         1569 E FLAMINGO RD
CONYERS GA 30012-3819                    GAINESVILLE GA 30501-3861                LAS VEGAS NV 89119-5321
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SPINE CENTER MEDICAL GROUP               SPINEPLUS HEALTHCARE                     SPORTS CONCUSSION INSTITUTE
ATTN JODIE FAIER                         ATTN RAYMOND TORRES                      ATTN JAY H PAIK
455 HICKEY BLVD STE 310                  2918 SAN JACINTO ST SUITE 150            3200 DOWNWOOD CIR NW
DALY CITY CA 94015-2630                  HOUSTON TX 77004-2708                    ATLANTA GA 30327-1610




ST GEORGE SURGICAL CENTER                STARPOINT HEALTH INC                     STAT DIAGNOSTICS CUEVAS DIAGNOSTICS LLC
ATTN TERRILL DICK                        ATTN ERICD FRIEDLANDER                   ATTN CESAR CUEVAS
676 S BLUFF ST                           20360 SW BIRCH ST STE 110                4710 KATY FREEWAY
SAINT GEORGE UT 84770-3512               NEWPORT BEACH CA 92660-1532              HOUSTON TX 77007-2204




STATESBORO NEUROSURGERY                  STELLAR AMBULARTORY ANESTHESIA           STONE CREEK SURGERY CENTER
ATTN DRDONALD GRAHAM                     CONSULTANTS LLC                          ATTN JEANNE ELAM
1211 MERCHANT WAY STE 411                ATTN- TIMOTHY GRINER                     5915 S RAINBOW BLVD
STATESBORO GA 30458-0865                 1150 HAMMOND DRIVE SUITE 600             LAS VEGAS NV 89118-2557
                                         ATLANTA GA 30328-8615




STONECREEK CAPITAL ADVISORS              STREETERVILLE OPEN MRI LLC               STUTZ ARTIANO HOLTZ
ATTN ROBERT SPERTELL                     ATTN EDWIN SAGE                          ATTN LJUBISA KOSTIC
19710 SKYLINE BLVD                       446 E ONTARIO ST STE 106                 1120 N TOWN CENTER DR
LOS GATOS CA 95033-8262                  CHICAGO IL 60611-7110                    LAS VEGAS NV 89144-6300




SUPRITI BAYLAN DDS                       SURGERY CENTER OF ATHENS LLC             SURGERY CENTER OF SOUTHERN NEVADA
ATTN SUPRITI BAYLAN DDS                  ATTN BRANDON ODELL                       ATTN MANAGING MEMBER
2145 ROSWELL RD STE 120                  2142 W BROAD ST STE 100                  4275 BURNHAM AVE
MARIETTA GA 30062-0819                   ATHENS GA 30606-3509                     LAS VEGAS NV 89119-5400




SURGERY EXCELLENCE MANAGEMENT LLC        SURGICAL IMAGING SERVICES INC            SUTTON ORTHOPAEDICS SPORTS MEDICINE
ATTN LORI RAMIREZ                        ATTN JOSEPHINE SHAMERIA                  ATTN MICHAEL A BIRKE MD
2100 WEST LOOP SOUTH SUITE 1200          782 DYNASTY DR                           145 MEDICAL BLVD
HOUSTON TX 77027-3599                    FAIRFIELD CA 94534-6612                  STOCKBRIDGE GA 30281-5083




SWAROOP N NYSHADHAM MD                   TECUMSEH ALTERNATIVES LLC                THE INJURY SPECIALISTS LLC
ATTN SWAROOP N NYSHADHAM MD              ATTN MANAGING MEMBER                     ATTN MANAGING MEMBER
1990 LUKKEN INDUSTRIAL DR W              5668 MORRIS HUNT DRIVE                   270 CARPENTER DRIVE SUITE 300
LAGRANGE GA 30240-1404                   FORT MILL SC 29708-6571                  SANDY SPRINGS GA 30328-4933




THE HAND UPPER EXTREMITY CENTER          THE INJURY SPECIALIST LLC                THE PAIN CLINIC
OF GEORGIA PC                            ATTN MICHAEL WAX                         ATTN ROPER DOLLARHIDE
ATTN- JEFFREY KLUGMAN                    5464 PEACHTREE BLVD                      5445 W SAHARA AVE
980 JOHNSON FERRY RD STE 1000            CHAMBLEE GA 30341-2235                   LAS VEGAS NV 89146-0308
ATLANTA GA 30342-1639




THE PAIN RELIEF CENTER OF GEORGIA        THE PHYSICIANS ATLANTA SURGERY CENTER    THE PHYSICIANS LAB SERVICES
ATTN IDI ALLEN MD                        ATTN SHARRYN SEFFOZO                     ATTN SHARRYN SEFFOZO
101 YORKTOWN DR STE 211                  5730 GLENRIDGE DR STE 110                5730 GLENRIDGE DR STE 110
FAYETTEVILLE GA 30214-1578               ATLANTA GA 30328-5579                    ATLANTA GA 30328-5579
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THE PHYSICIANS NORTH ATLANTA SURGERY      THE PHYSICIANS ROME SURGERY CENTER      THE WOODLANDS SPECIALTY HOSPITAL
CNTR                                      ATTN SHARRYN SEFFOZO                    ATTN ANTONIO CANALES
ATTN SHARRYN SEFFOZO                      5730 GLENRIDGE DR STE 110               25440 I-45 N
5730 GLENRIDGE DR STE 110                 ATLANTA GA 30328-5579                   THE WOODLANDS TX 77386
ATLANTA GA 30328-5579




TOBIN BONE AND JOINT SURGERY INC          TUSHAR M GORADIA MD PHD                 TYRONE SYNERGY REHABILITATION
ATTN JOSEPH TOBIN                         ATTN TUSHAR M GORADIA MD PHD            ATTN BRANTON R QUEEN PT
12 LAFAYETTE PLACE SUITE A                6555 COYLE AVE                          100 MILLBROOK VILLAGE DR
HILTON HEAD ISLAND SC 29926-2203          CARMICHAEL CA 95608-0302                TYRONE GA 30290-3603




US TRUSTEE   LV   7                       ULTIMATE PHYSICAL THERAPY LLC           UNIVERSITY MEDICAL CENTER
300 LAS VEGAS BOULEVARD SO                ATTN SAYEEDA KURLAWALA                  ATTN LACY L THOMAS
SUITE 4300                                10929 KATY FWY STE B                    1800 W CHARLESTON BLVD
LAS VEGAS NV 89101-5803                   HOUSTON TEXAS 77079-2203                LAS VEGAS NV 89102-2386




VALLEY ANESTHESIOLOGY                     VALLEY HEALTH SYSTEM                    VIKING PAIN MANAGEMENT
ATTN GARLAND COWEN                        ATTN MANAGING MEMBER                    ANTHONY ROTANDO
10120 SOUTH EASTERN SUITE 200             2075 E FLAMINGO RD                      1229 CREEK WAY DR STE 104
HENDERSON NV 89052-3926                   LAS VEGAS NV 89119-5188                 SUGARLAND TX 77478-4556




WERNER INSTITUTE OF BALANCE   DIZZINESS   WHITE OAK SURGERY CENTER                WILCORP LLC
ATTN MANAGING MEMBER                      ATTN JAY RICE                           ATTN ROBIN WILSON
9080 W CHEYENNE AVE                       1665 HIGHWAY 34 E STE 200               11204 S 75TH E AVE
LAS VEGAS NV 89129-8936                   NEWNAN GA 30265-2404                    BIXBY OK 74008-2043




WILLIAM A SEGAL MD                        XL2XS LLC                               YARBRO LTD DBA LAKE MEAD RADIOLOGISTS
ATTN WILLIAM A SEGAL MD                   ATTN SAIRA MCKINLEY                     ATTN DONALD DEN YARBRO JR MD
3800 PLEASANT HILL RD STE 3               5413 ROSE THICKET ST                    2559 WIGWAM PKWY
DULUTH GA 30096-1428                      LAS VEGAS NV 89130-1675                 HENDERSON NV 89074-6230




                                          EXCLUDE
MATTHEW C ZIRZOW                          ROBERT E ATKINSON                       PRO PERFORMANCE PT
LARSON ZIRZOW LLC                         376 E WARM SPRINGS RD STE 130           ATTN AMANDA STILLINGS
850 E BONNEVILLE AVE                      LAS VEGAS NV 89119-4262                 4343 SHALLOWFORD RD STE G-3     4
LAS VEGAS NV 89101-7031                                                           MARIETTA GA 30062




SACRAMENTO PAIN CLINIC
ATTN DR MICHAEL LEVIN MD
777 CAMPUS COMMONS RD
SACRAMENTO CA 95825
ADDRESSES WHERE ANCase
                   EMAIL 21-14486-abl      Doc 152
                          IS PRESENT WERE SERVED       Entered
                                                 VIA "CM/ECF    12/08/21
                                                             E-SERVICE"    10:00:15
                                                                        THROUGH        Page
                                                                                THE UNITED    11 ofBANKRUPTCY
                                                                                           STATES    11       COURT'S
NOTICE OF ELECTRONIC FILING ("NEF")SYSTEM.

(U.S. Trustee)                            (Creditor)                                ARIEL E. STERN
U.S. TRUSTEE - LV - 7                     THE INJURY SPECIALISTS                    AKERMAN LLP
300 LAS VEGAS BOULEVARD, SO.              C/O SAGEBRUSH LAWYERS, LLC                1635 VILLAGE CTR CR, STE 200
SUITE 4300                                112 S WATER ST, STE 104                   LAS VEGAS, NV 89134
LAS VEGAS, NV 89101                       HENDERSON, NV 89015
                                          represented by:                           ariel.stern@akerman.com
USTPRegion17.LV.ECF@usdoj.gov             TRENT L. RICHARDS
                                          SAGEBRUSH LAWYERS
                                          112 S WATER ST, STE 104
                                          HENDERSON, NV 89015

                                          trichards@sagebrushlawyers.com




(Creditor)                                (Debtor)                                  JACOB M STEPHENS
TECUMSEH - INFINITY MEDICAL               INFINITY CAPITAL MANAGEMENT, INC.         IRELAN MCDANIEL, PLLC
RECEIVABLES FUND, LP                      1700 W HORIZON RIDGE PKWY #206            2520 CAROLINE ST, 2ND FLR
represented by:                           HENDERSON, NV 89012                       HOUSTON, TX 77004
MICHAEL D. NAPOLI                         Tax ID / EIN: XX-XXXXXXX
AKERMAN LLP                               represented by:                           birelan@imtexaslaw.com
2001 ROSS AVENUE, SUITE 3600              MATTHEW C. ZIRZOW
DALLAS, TX 75201                          LARSON & ZIRZOW, LLC
                                          850 E. BONNEVILLE AVE.
michael.napoli@akerman.com                LAS VEGAS, NV 89101

                                          mzirzow@lzlawnv.com




DAVID MINCIN                              (Creditor)                                (Creditor)
MINCIN LAW, PLLC                          HEALTHPLUS IMAGINING OF TEXAS, LLC        HASELECT-MEDICAL RECEIVABLES
7465 W. LAKE MEAD BLVD, #100              represented by:                           LITIGATION FINANCE FUND INTERNATIONAL
LAS VEGAS, NV 89128                       BRADFORD IRELAN                           SP
                                          IRELAN MCDANIEL, PLLC                     represented by:
dmincin@mincinlaw.com                     2520 CAROLINE ST, 2ND FLR                 BART K. LARSEN
                                          HOUSTON, TX 77004                         1731 VILLAGE CTR CR, STE 150
                                                                                    LAS VEGAS, NV 89134
                                          birelan@imtexaslaw.com
                                                                                    BLARSEN@SHEA.LAW




CLARISSE L. CRISOSTOMO                    (Trustee)
ATKINSON LAW ASSOCIATES LTD.              ROBERT E. ATKINSON
376 WARM SPRINGS RD., SUITE 130           376 E WARM SPRINGS RD STE 130
LAS VEGAS, NV 89119                       LAS VEGAS, NV 89119
                                          represented by:
clarisse@nv-lawfirm.com                   ROBERT E. ATKINSON
                                          376 E WARM SPRINGS RD STE 130
                                          LAS VEGAS, NV 89119

                                          Robert@ch7.vegas
